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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at Pikeville)

 UNITED STATES OF AMERICA,                     )
                                               )
        Respondent/Plaintiff,                  )        Civil Action No. 7: 08-7054-DCR
                                               )     Criminal Action No. 7: 06-29-SSS-DCR
 V.                                            )
                                               )
 ELIO LOPEZ                                    )         MEMORANDUM OPINION
                                               )             AND ORDER
        Petitioner/Defendant.                  )

                                     *** *** *** ***

       This matter is before the Court for consideration of the Report and Recommendation

(“R&R”) of Magistrate Judge Edward B. Atkins issued August 24, 2010. [Record No. 740] The

R&R recommends that the Petitioner’s motion to vacate, set aside, or correct his sentence

[Record Nos. 653 and 704] be denied. Having considered this matter, the Court will adopt the

Magistrate Judge’s R&R and dismiss Petitioner Lopez’s petition.

       While this Court must make a de novo determination of those portions of the Magistrate

Judge’s recommendations to which an objection is made, 28 U.S.C. § 636(b)(1)(c), “[i]t does not

appear that Congress intended to require district court review of a magistrate’s factual or legal

conclusions, under a de novo or any other standard, when neither party objects to those

findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985). Moreover, a party who fails to file

objections to a Magistrate Judge’s proposed findings of fact and recommendation waives the

right to appeal. See United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008); Wright v.

Holbrook, 794 F.2d 1152, 1154-55 (6th Cir. 1986). Nevertheless, having examined the record

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and having made a de novo determination, the Court agrees with the Magistrate Judge’s

recommendations concerning disposition of the petition. Accordingly, it is hereby

       ORDERED as follows:

       1.     The Report and Recommendation of Magistrate Judge Edward B. Atkins [Record

No. 740] is ADOPTED and INCORPORATED by reference.

       2.     The motions to vacate, set aside, or correct Petitioner Elio Lopez’s Sentence

[Record Nos. 653 and 704] are DENIED and this matter is DISMISSED from the Court’s

docket.

       This 14th day of September, 2010.




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